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                       IN THE UNITEll STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE
                                       ____ _
                                                )
In re:                                          ) Chapter 15

CDS U.S. HOLDINUS,INC., et al.,~                                  ) Case No. 20-11719(CSS)

                                     Debtors.                     ) (Jointly Administered)

                                                                       Re: Docket Nos.: 83 acid 84

                                      CERTIFICATE OF SERVICE


                 I, Timothy P. Cairns, hereby certify that on the 6th day of August 2020, I caused a

copy of the following documents to be served upon the attached service list in the manner

indicated:
                 Foreign Representative's Reply in Support of the Verified Petition for (I)
                 Recognition of Foreign Main Proceedings,(II) Recognition of Foreign
                 Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy
                 Code (Docket No. 83); and

                 Notice of Filing of Revised Order Granting Petition fot•(I) Recognition ~s
                 Foreign Main Proceedings,(II) Recognition of Foreign Representati~~e, and
                (III) Related Relief Under Chapter 15 of the Bankruptcy Code [Filed: 8/6/20]
                (Docket No. 84).


                                                      /s/ Tiynoth v P. CaiNns
                                                      Timothy P. Cairns




         The last four digits of Debtor CDS U.S. Holdings, Inc.'s tax identification number are (0086). Due to the
large number of debtor entities in these chapter 15 cases, for which the Debtors have requested joint administration,
a complete list of the debtor entities and the last four digits of their federal tax identification numbers are not
provided herein. A complete list of such information may be obtained on the website of the Debtors' noticing agent
at www.omniagentsolutions.com/cirquedusoleil. The location of the Debtors' service address for purposes of these
chapter 15 cases is: 8400, 2e Avenue Montreal, Quebec H1Z 4M6 Canada.


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